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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

DISH NETWORK L.L.C.,                      §
                                          §
        Plaintiff,                        § Civil Action No. 4:17-cv-01618
                                          §
   v.                                     §
                                          §
SHAHJAHAN DURRANI, d/b/a ZemTV,           §
and ADAM LACKMAN, d/b/a                   §
www.tvaddons.ag, www.tvaddons.org,        §
www.streamingboxes.com, and
                                          §
www.offshoregit.com
                                          §
                                          §
        Defendants.                       §




    Plaintiff DISH Network L.L.C.’s Opposition to Defendants’ Motion to Dismiss
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                                             I.       Summary

       Plaintiff DISH Network L.L.C. (“DISH”) sued Defendants Adam Lackman (“Lackman”)

and Shahjahan Durrani (“Durrani,” and collectively with Lackman, “Defendants”) for direct and

secondary copyright infringement. Defendants each had roles in the unlawful retransmission of

pay-television channels and programming exclusively licensed to DISH, which is the fourth largest

pay-television provider in the United States. DISH alleged personal jurisdiction based upon

minimum contacts with Texas, and alternatively under Fed. R. Civ. P. 4(k)(2) based upon the

Defendants being foreign defendants with minimum contacts with the United States as a whole.

(Dkt. 10, First Am. Compl. ¶ 6.)

        Defendants’ moved to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2)

claiming only that they lacked sufficient contacts with the State of Texas. (See Dkt. 24, Defs.’

Mot. to Dismiss 3-7.) But Defendants did not address the alternative basis for jurisdiction under

Rule 4(k)(2) and because jurisdiction is more straightforward under Rule 4(k)(2) this court may

find personal jurisdiction on that basis and need not address the state contacts issue. Adams v.

Unione Mediterranea Di Scurta, 364 F.3d 646, 652 (5th Cir. 2004) (“Because we conclude that

our exercise of jurisdiction is clearer and more straightforward under Rule 4(k)(2) than under

Louisiana law, we affirm the district court’s jurisdictional ruling on this alternate basis.”);

Nagravision SA v. Gotech Int’l Tech. Ltd., --- F.3d ---, 2018 WL 746538 at *3 (5th Cir. Feb. 7,

2018) (affirming personal jurisdiction over foreign defendants in the Southern District of Texas

under Rule 4(k)(2) and explaining that the defendant bears the evidentiary burden of negating

jurisdiction under that subsection).
                                       II.         Issue Presented

       Does the Court have personal jurisdiction over Defendants in accordance with Rule 4(k)(2)

of the Federal Rules of Civil Procedure?

                                   III.           Standard of Review

       A plaintiff need only make a prima facie showing of personal jurisdiction. Cent. Freight
Lines, Inc. v. APA Transp. Corp., 322 F.3d 376, 380 (5th Cir. 2003); see also Luv n’ Care v. Insta-
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Mix, Inc., 438 F.3d 465, 469 (5th Cir. 2006) (the plaintiff need not establish personal jurisdiction

by a preponderance of the evidence). The court must accept the plaintiff’s allegations as true and

also resolve all factual disputes in the plaintiff’s favor. Guidry v. U.S. Tobacco Co., 188 F.3d 619,

625 (5th Cir. 1999). “[T]he court may consider the contents of the record before [it]…including

‘affidavits, interrogatories, depositions, oral testimony, or any combination of the recognized

methods of discovery’” to help it resolve the jurisdictional issue. Quick Techs., Inc. v. Sage Grp.

PLC, 313 F.3d 338, 344 (5th Cir. 2002) (quoting Thompson v. Chrysler Motors Corp., 755 F.2d

1162, 1165 (5th Cir. 1985)).

       It is within the sound discretion of the court to draw a negative inference from a party’s

failure to produce evidence within its possession or control if the purpose of that party’s failure to

produce was to “conceal adverse facts.” See BNSF Ry. Co. v. Bhd. of Maint. of Way Emps., 550

F.3d 418, 424 (5th Cir. 2008); Fed. R. Civ. P. 37(e).

IV.    The Court has Personal Jurisdiction Over Defendants in Accordance with Rule
       4(k)(2) of the Federal Rules of Civil Procedure.
       Courts apply Federal Rule of Civil Procedure 4(k)(2) in cases where the plaintiff’s claim(s)

(1) arise under federal law, (2) involve defendants who are not subject to the general jurisdiction

of any state, and (3) where exercising jurisdiction would be consistent with Constitutional due

process. Fed. R. Civ. P. 4(k)(2); Adams, 364 F.3d at 650 (Rule 4(k)(2) “provides for service of
process and personal jurisdiction in any district court for cases arising under federal law where the

defendant has contacts with the United States as a whole sufficient to satisfy due process concerns

and the defendant is not subject to jurisdiction in any particular state.”).

       A.      DISH’s copyright claims arise under federal law.
       “A claim arises under federal law when the plaintiff’s statement of his own cause of action

shows that it is based upon federal law or the Constitution.” Gilbert v. Donahue, 751 F.3d 303,

311 (5th Cir. 2014). DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq. (Dkt.

10 ¶ 5.) DISH alleges claims of direct copyright infringement against Durrani and claims of
contributory, inducing, and vicarious copyright infringement against Lackman under 17 U.S.C. §

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501. (Id. ¶¶ 17-41.) The first element for a finding of personal jurisdiction under Rule 4(K)(2) is

satisfied because DISH’s copyright claims arise under Federal Law.

       B.      Defendants are not subject to the general jurisdiction of any state.
       A plaintiff “ha[s] the initial burden to plead and prove the requisite contacts with the United

States and plead Rule 4(k)(2)’s applicability (though no need for ‘magic words’), but it ha[s] no

burden to negate jurisdiction in every state.” Nagravision, 2018 WL 746538 at *3. The burden

then shifts to Defendants “to affirmatively establish that the court lacked personal jurisdiction

under 4(k)(2) because there was a state where its courts of general jurisdiction could properly
exercise jurisdiction over it.” Id. The Fifth Circuit streamlines the jurisdictional determination

under Rule 4(k)(2) by providing that “so long as a defendant does not concede to jurisdiction in

another state, a court may use 4(k)(2) to confer jurisdiction.” Adams, 364 F.3d at 651.

       First, DISH met its burden of pleading the requisite contacts with the United States and

Rule 4(k)(2)’s applicability because DISH pled that Defendants marketed, made available, and

distributed ZemTV1 to consumers throughout the United States, resulting in the unauthorized

retransmission of television channels exclusively licensed to DISH and causing injury to DISH

throughout the United States. (Dkt. 10 ¶ 6.)

       Second, DISH pled that the Court’s exercise of jurisdiction over Defendants is consistent

with the Constitution and laws of the United States because DISH’s claims arise under federal law

and the unauthorized retransmission of television channels exclusively licensed to DISH occurred

in the United States, including in the State of Texas. (Id.)

       Third, DISH pled that Defendants are not subject to the jurisdiction of the courts of general

jurisdiction of any state. (Id.) Lackman is a Canadian citizen and resident of Montreal, Quebec.

(Dkt. 24 at 4.) Durrani is a British citizen and resident of London, England. (Id.) Defendants

contend they are not subject to jurisdiction under the State of Texas long arm statute. (Id. at 3-7.)

Defendants failed to respond to written discovery requiring them to identify any other state in

1
 The ZemTV add-on for the Kodi media player and ZemTV service are collectively referred to as
“ZemTV.”

                                                 3
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which they would be subject to jurisdiction, and failed to respond to discovery seeking information

about their contacts with other specific states in the United States.2 (App. at 261-281, 87 ¶¶ 14-

17.) Defendants have not conceded to jurisdiction in another state and the Court may use 4(k)(2)

to confer jurisdiction. Adams, 364 F.3d at 651.

       Therefore, the second element for a finding of personal jurisdiction under Rule 4(k)(2) is

satisfied because DISH pled the requisite contacts with the United States and Rule 4(k)(2)’s

applicability, and Defendants have not conceded to jurisdiction in another state or proven that

jurisdiction in another state would be proper.

       C.      Exercising jurisdiction is consistent with Constitutional due process.
       “Rule 4(k)(2) [] sanctions personal jurisdiction over foreign defendants for claims arising

under federal law when the defendant has sufficient contacts with the nation as a whole to justify

the imposition of United States’ law . . . .” World Tanker Carriers Corp. v. M/V Ya Mawlaya, 99

F.3d 717, 721 (5th Cir. 1996).

       Minimum contacts is satisfied when a defendant “purposefully avails itself of the privilege

of conducting activities within the forum [], thus invoking the benefits and protections of its laws.”

Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985). Such availment of the benefits and

protections of the forum must be sufficient enough that the defendant “should reasonably anticipate

being haled into court [in the forum].” World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286,

297 (1980).


2
  DISH served Defendants with interrogatories and requests for production on January 18, 2018.
(App. at 261-263, 268-281, 87 ¶¶ 14-17.) DISH has not received Defendants’ discovery responses
that were due by February 20, 2018. Defendants’ counsel did not respond to a request that they
provide Defendants’ discovery responses. (App. at 265, 87 ¶ 14.) The Court has discretion to
infer that Defendants failed to respond to discovery because their responses would establish
personal jurisdiction against them. See Fed. R. Civ. P. 37(e); BNSF, 550 F.3d at 424 (It is within
the sound discretion of the court to draw a negative inference from a party’s failure to produce
evidence within its possession or control if the purpose of that party’s failure to produce was to
“conceal adverse facts.”); Rimkus Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 629-
640, 653 (S.D. Tex. 2010) (adverse inference was appropriate where, in responding to discovery,
party acted with “bad faith”).

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       “Courts addressing the issue of whether personal jurisdiction can be constitutionally

exercised over a defendant look to the ‘nature and quality of commercial activity that an entity

conducts over the Internet.’” Mink v. AAAA Dev. LLC, 190 F.3d 333, 336 (5th Cir. 1999) (quoting

Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119, 1124 (W.D. Pa. 1997)). 3 The Fifth

Circuit adopted the reasoning of Zippo categorizing Internet use into a spectrum of three areas: (1)

personal jurisdiction is proper “where a defendant clearly does business over the Internet by

entering into contracts with residents of other states which involve the knowing and repeated

transmission of computer files over the Internet”; (2) personal jurisdiction is not appropriate where

a defendant merely establishes a passive website that does nothing more than advertise on the

Internet; and (3) where a website falls somewhere in between and allows a user to exchange

information with a host computer, “the exercise of jurisdiction is determined by the level of

interactivity and commercial nature of the exchange of information that occurs on the Website.”

Mink, 190 F.3d at 336.

       Defendants have minimum contacts with the United States as a whole.
               1.      Defendants operated a joint venture that targeted and interacted with
                       the United States.
       Defendants worked together in a joint venture or partnership to jointly develop, market,

and distribute ZemTV to United States users through the www.tvaddons.ag and www.tvaddons.org

(collectively “TV Addons”) websites. (Dkt. 10 ¶¶ 1, 11-15); see MetroplexCore, L.L.C. v. Parsons

Transp., Inc., 743 F.3d 964, 972 (5th Cir. 2014) (citing Tex. Bus. Orgs. Code Ann. § 152.051(b))

(“[A]n association of two or more persons to carry on a business for profit as owners creates a

partnership, regardless of whether: (1) the persons intend to create a partnership; or (2) the

association is called a ‘partnership,’ ‘joint venture,’ or other name.”). In so doing, Defendants

each purposefully availed themselves of the United States market. And “the contacts of one co-

venturer can be imputed to another in the exercise of personal jurisdiction over a non-resident

3
 Although in Mink, the court did not find jurisdiction because the website at issue did not possess
any Zippo-interactive features other than the defendant’s email address. 190 F.3d at 337. Mink is
distinguishable because Defendants communicated with and knowingly distributed a copyright-
infringing streaming service to consumers in the forum via their popular TV Addons website.
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when the co-venturer is acting in furtherance of the joint venture.” Walker v. Williamson, 131 F.

Supp. 3d 580, 592 (S.D. Miss. 2015); Nolan v. Boeing Co., 736 F. Supp. 120, 127 (E.D. La. 1990).

        Durrani also developed, updated, and supported ZemTV. (Dkt. 10 ¶ 3, 11, 13.) Lackman

owned and operated TV Addons, which was used by Defendants to host, distribute, and promote

ZemTV. (Dkt. 10 ¶¶ 4, 11, 13-15.) Lackman authorized Durrani to control portions of TV Addons,

providing him with his own support forum and repository for ZemTV and the title “Team TV

ADDONS Staff.” (Id. ¶ 13; App. at 14, 6 ¶ 5; see also App. at 137-138, 81 ¶ 10(b) (Durrani’s

forum was one of thirteen under the “Community Staff Kodi Addons” section of TV Addons).)

        Defendants each purposefully availed themselves of the United States market through their

individual contributions to the production and distribution of ZemTV. And because Defendants

worked together for the common purpose of producing and distributing ZemTV through TV

Addons, each of their individual contributions to the infringement endeavor should be attributable

to the other. See Walker, 131 F. Supp. 3d 580 at 592.

               2.      Defendants’ used TV Addons and Streamingboxes to enter into
                       contracts with residents of the United States which involved knowing
                       and repeated transmissions of data.
        Personal jurisdiction is proper “where a defendant clearly does business over the Internet

by entering into contracts with residents of other states which involve the knowing and repeated

transmission of computer files over the Internet.” Mink, 190 F.3d at 336; see Tempur-Pedic Int’l,

Inc. v. Go Satellite Inc., 758 F. Supp. 2d 366, 373 (N.D. Tex. 2010) (applying Zippo and finding
personal jurisdiction where Canadian defendant operated an interactive website from which

defendant entered into several commercial transactions with forum residents).

        Defendants entered into contracts with TV Addons users residing in the United States by

means    of   the   TV   Addons     terms   and       conditions   of   use,   privacy   policy,   and

www.streamingboxes.com (“Streamingboxes”). See CompuServe, Inc. v. Patterson, 89 F.3d 1257,

1263 (6th Cir. 1996) (finding personal jurisdiction where the defendant entered into online
contracts with terms and conditions). The TV Addons “Terms and Conditions of Use” state, “By

accessing this Website, you are agreeing to be bound by these Website Terms and Conditions of
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Use and agree that you are responsible for the agreement with any applicable local laws. If you

disagree with any of these terms, you are prohibited from accessing this site.” (App. at 118, 79 ¶

6.) The TV Addons Privacy Policy defines terms “as described in US privacy law” and references

several United States statutes including the California Online Privacy Protection Act, the

Children’s Online Privacy Protection Act, the Fair Information Practices Principles, and the CAN-

SPAM Act. (App. at 122-124, 79-80 ¶ 7.) Defendants also referred TV Addons users to

Streamingboxes where Defendants sold set-top boxes and received donations from TV Addons

users. (App. at 110-111, 78-79 ¶ 4; App. at 114- 116, 79 ¶ 5.) By entering into contracts with TV

Addons users including references to United States laws, Defendants “should reasonably anticipate

being haled into court [in the United States].” See World-Wide Volkswagen, 444 U.S. at 297;

CompuServe, 89 F.3d at 1263-64.

        Defendants purposefully availed themselves of the benefits of conducting business in the

United States by transacting with United States residents over the Internet. See Tempur-Pedic,

758 F. Supp. 2d at 373 (finding personal jurisdiction where forum residents purchased mattresses

over the internet from defendant’s website). Defendants failed to respond to discovery seeking the

number and geographic location of users who accessed TV Addons or downloaded ZemTV. (App.

at 265, 270, 280, 87 ¶¶ 14-15, 17.)   However, Defendants admit there were 39,463,419 unique

TV Addons users for March 2017. (App. at 284, 87 ¶ 18.) The United States was Defendants’
largest market with 33.69% of all TV Addons traffic coming from users located in the United

States and this is more than three times the traffic from the second largest market. (App. at 287,

88 ¶ 19; see also App. at 130, 80 ¶ 8 (listing the United States, United Kingdom, Canada, and

Germany in the same order).) Therefore, it can be estimated that Defendants entered into contracts

with approximately 13.3 million TV Addons users residing in the United States during March 2017

alone. See Fed. R. Civ. P. 37(e); BNSF, 550 F.3d at 424 (courts have discretion to draw a negative

inference from a party’s failure to produce evidence if the purpose was to conceal adverse facts);

Rimkus Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 629-640, 653 (S.D. Tex. 2010)


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(adverse inference was appropriate where, in responding to discovery, party acted with “bad

faith”).

           Defendants boast “We don’t allow statistics for individual addons or anything, so all we

really have is the number of unique installs that ping our servers per day.” (App. at 283, 87 ¶ 18.)

However, Defendants marketed ZemTV as the third “Best Kodi Addon[] for Live TV and Sports

Streaming.” (App. at 132-133, 80 ¶ 9.) Therefore a conservative estimate of the number of users

residing in the United States that downloaded ZemTV would be approximately one-third or 4.4

million unique TV Addons users, including about 10,700 registered discussion forum users. See

Fed. R. Civ. P. 37(e); BNSF, 550 F.3d at 424; Rimkus, 688 F. Supp. 2d at 653.

           Millions of contracts with United States residents, combined with millions of ZemTV

downloads, demonstrates that Defendants’ contacts with the United States are not the kind of

fortuitous, random, and attenuated contacts the Supreme Court has held insufficient to warrant the

exercise of jurisdiction. Burger King, 471 U.S. at 575.

           The Court should find personal jurisdiction against Defendants under Rule 4(k)(2) because

Defendants clearly do business over the Internet by entering into contracts with residents of the

United States which involve the knowing and repeated transmission of computer files over the

Internet.

                  3.     TV Addons and Streamingboxes were highly interactive websites that
                         permitted the exchange of information of a commercial nature.
           Personal jurisdiction is proper where the defendant’s website allows a user to exchange

information with a host computer by maintaining an interactive website and the exchange of

information is of a commercial nature. Mink, 190 F.3d at 336; see Am. Auto. Ass’n., Inc. v. Darba

Enters. Inc., No. C09-00510 SI, 2009 WL 1066506, at *4-5 (N.D. Cal. Apr. 21, 2009) (finding

personal jurisdiction where defendant “profited when California users entered their contact

information in his website, though he did not sell anything to them directly.”); Arista Records, Inc.

v. Sakfield Holding Co., 314 F. Supp. 2d 27, 32–33 (D.D.C. 2004) (finding personal jurisdiction
where a defendant residing outside the United States operated a website in which users registered

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free online accounts and then downloaded music files); Bright Imperial Ltd. v. RT Mediasolutions,

S.R.O., No. 1:11-cv-935-LO-TRJ, 2012 WL 1831536, at *8 (E.D. Va. May 18, 2012) (finding

personal jurisdiction where a defendant residing outside the United States operated a website that

required users to register an online account prior to viewing content).

        TV Addons is a highly interactive website that encourages users to download ZemTV and

become registered members with additional benefits. TV Addons encourages all users and

specifically those in the United States to download their free Kodi Addons, including ZemTV.

(See Dkt. 10 ¶ 13; App. at 130, 80 ¶ 8 (“Whether you’re in the United States . . . or anywhere else,

Kodi Addons will work great for you!”); App. at 132-133, 80 ¶ 9 (identifying ZemTV as the third

Best Kodi Addon for Live TV and Sports Streaming).) All 39.5 million TV Addons users,

including users in the United States and Texas, could download ZemTV. (See Dkt. 10 ¶ 13; App.

at 77, 284, 87 ¶ 18; App. at 6 ¶ 4.) TV Addons also encourages users to join and become registered

members for “access to post topics, communicate privately with other members (PM), respond to

polls, upload content and access many other special features.” (App. at 137, 81 ¶ 10(a).) TV

Addons had 95,739 registered members. (App. at 140, 81 ¶ 10(e); see also App. at 166, 84 ¶

11(bb) (“We haven’t hear any other reports of forum logins not working, did you try the forgotten

password function?”); App. at 283, 87 ¶ 18 (admitting to having about 90,000 forum users whom

Defendants were able to contact via email).) Registered members communicated with Durrani for
ZemTV support and updates in Durrani’s own ZemTV forum with over 130 pages of discussion

and more than 1300 user posts. (Dkt. 10 ¶ 13; App. at 14, 6 ¶ 5 (Durrani post regarding a ZemTV

update removing channels that were not working, adding working channels, and stating the update

would be provided automatically in a few hours).)

       The exchange of information on TV Addons is of a commercial nature because Defendants

through ZemTV distributed DISH’s exclusively licensed content to users without authorization or

paying a subscription fee to DISH. (Dkt. 10 ¶¶ 8-10, 12, 15; App. at 5 ¶ 3; App at 20-24, 7-8 ¶ 8.)

In exchange, Defendants derived revenues from advertising. (Dkt. 10 ¶ 14.); see, e.g., Jones v.
Dirty World Entm’t Recordings, LLC, 766 F. Supp. 2d 828, 833 (E.D. Ky. 2011) (finding personal

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jurisdiction and stating that “defendants are not in this business as a hobby, but rather to make

money, as do most web sites, by advertising.”). The TV Addons Privacy Policy acknowledges use

of cookies. See 59 AM. JUR. PROOF OF FACTS 3D Proof of Personal Jurisdiction in the Internet

Age § 13 (2017) (listing cookies among factors weighing in favor of personal jurisdiction).

Cookies are “small files that a site or its service provider transfers to your computer’s hard drive

through your web browser . . . that enables the site’s or service provider’s systems to recognize

your browser and capture and remember certain information.” (App. at 122, 79-80 ¶ 7(b).)

Defendants use cookies on TV Addons to (1) “remember and process the items in [users’] shopping

cart,” (2) “understand [users’] preferences based on previous or current site activity,” and (3)

“compile aggregate data about site traffic and site interaction.” (Id.) Defendants confirm that TV

Addons uses Google AdSense Advertising and that “Google, as a third-party vendor, uses cookies

to serve ads on our site.” (App. at 123, 80 ¶ 7(c).) Defendants’ advertising revenues increase with

an increase in unique TV Addons users and website traffic explaining the free download and

support of ZemTV, free member registration for the ZemTV forum, and product giveaways. (See

id.; App. at 137, 81 ¶ 10(d) (product giveaways); App. at 150-151, 164-165, 81-84 ¶ 11(i-j, z-aa)

(same).

          The commercial nature of the TV Addons exchange of information is shown by the sales

referrals for third party products and services, and donations. (Dkt. 10 ¶ 14); See Mashantucket
Pequot Tribe v. Redican, 309 F. Supp. 2d 309, 314–19 (D. Conn. 2004) (finding personal

jurisdiction where inter alia defendant’s website generated revenue when users clicked on

hyperlinks). Defendants provide links on TV Addons to items for sale on Amazon. (See App. at

149, 81-82 ¶ 11(g) (“CYBER MONDAY DEALS FOR KODI USERS” listing three products, the

sale price, amount save, and the TV Addons URLs). Defendants also refer TV Addons users to

Lackman’s Streamingboxes website where they sold set-top boxes and received donations from

TV Addons users.4 (Dkt. 10 ¶¶ 4, 13; App. at 110-111, 78-79 ¶ 4; App. at 114-116, 79 ¶ 5.)

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  Streamingboxes allowed users to login, create an account, add various brands of set-top boxes to
a shopping cart, checkout, and advertised free shipping and PayPal as a means of payment. (App.

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          Defendants’ solicitation of donations is also a factor showing the commercial nature of the

TV Addons exchange of information. See Heroes, Inc. v. Heroes Foundation, 958 F. Supp. 1, 5

(D.D.C. 1996) (finding personal jurisdiction where the defendant solicited “donations on the

Internet on a home page which is always available to District residents, and by soliciting donations

in the District’s local newspaper”). Defendants encouraged TV Addons and ZemTV users to make

donations through Amazon, Bitcoin, using PayPal at Streamingboxes, and by mining

cryptocurrency. (Dkt. 10 ¶¶ 1, 13; App. at 5-6 ¶ 3; App. at 109-112, 78-79 ¶ 4; see also App. at

144, 146-147, 149, 81-82 ¶ 11(c, e-f, h) (Bitcoin and mining cryptocurrency).) Defendants failed

to produce the identity of persons located in the United States that made payments or donations

related to TV Addons or ZemTV. (Ferguson Decl. 262, 265, 269, 274, 279, 87 ¶¶ 14-17 (DISH’s

ROG No. 2 and RFP No. 2). The Court should make a negative inference that a substantial number

of persons located in the United States made payments and donations to Defendants related to TV

Addons and ZemTV. See Fed. R. Civ. P. 37(e); BNSF, 550 F.3d at 424 (courts have discretion to

draw a negative inference from a party’s failure to produce evidence if the purpose was to conceal

adverse facts); Rimkus, 688 F. Supp. 2d at 653 (adverse inference appropriate).

          The Court should find personal jurisdiction against Defendants under Rule 4(k)(2) because

Defendants’ TV Addons website allows a user to exchange information with a host computer by

maintaining a highly interactive website and the exchange of information is of a commercial
nature.

                 4.      Defendants entered into contracts with nine United States service
                         providers that facilitated Defendants’ copyright infringement.
          Personal jurisdiction is proper where the defendant enters into contracts “executed and

performed in the [forum].” Trois v. Apple Tree Auction Ctr., Inc., No. 16-51414, 2018 WL

706517, at *2 (5th Cir. Feb. 5, 2018); see also Exxon Mobil Corp. v. Exxonmobil for Expt., Impt.

& Trade Ltd., No. 3:12-cv-01122-P, 2013 WL 12124587, at *6 (N.D. Tex. Jan. 25, 2013) (finding


at 114-116, 79 ¶ 5.) The “About Us” page shows a claim that they are “an American-owned
company.” (Id. at 116.)

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personal jurisdiction under Rule 4(k)(2) where defendants residing outside the United States

“engaged several United States entities5 for support []” for its “purely passive website”).

       Defendants entered into contracts with CloudFlare, Inc. of San Francisco, California,

providing CloudFlare’s authoritative domain name system servers and content delivery

optimization services for TV Addons and Streamingboxes. (See App. at 210-213, 85-86 ¶ 13(a);

App. at 310-311, 88 ¶ 22.) CloudFlare’s servers and services were used to make ZemTV available

for download and provide support to TV Addons and ZemTV users. (See id. at 210-213, 85-86 ¶

13(a); Dkt. 10 ¶ 13.) CloudFlare provides its services subject to terms of service including an

agreement that the laws of the United States and the state of California will govern any dispute.

(App. at 310-311, 88 ¶ 22.)

       Defendants entered into contracts with PayPal, Inc. of San Jose, California for Defendants’

receipt of payments and donations from TV Addons and ZemTV users. (See Dkt. 10 ¶¶ 13-14;

App. 110-111, 78 ¶ 4(a-c); App. at 114-116, 79 ¶ 5; App. at 313-314, 88 ¶ 23.) PayPal provides

its services subject to a user agreement including that the laws of the state of Delaware will govern

any dispute. (App. at 313-314, 88 ¶ 23.)

       Defendants entered into contracts with Amazon.com Inc. of Seattle, Washington for

Defendants’ receipt of payments and donations from TV Addons and ZemTV users. (See Dkt. 10

¶¶ 13-14; App. at 110, 78 ¶ 4(d); App. at 316-317, 319-320, 88 ¶ 24.) Upon information and belief,
Durrani also entered into contracts with Amazon to retransmit DISH’s exclusively licensed content

to ZemTV users, including users located in the United States. (See Dkt. 10 ¶¶ 9-12; App. at 49-

50, 9 ¶ 10(a).) Amazon provides its services subject to conditions of use including that the Federal

Arbitration Act, applicable federal law, and the laws of the state of Washington will govern any

dispute. (App. at 316-317, 319-320, 88 ¶ 24.)

       Defendants entered into contracts with GitHub, Inc. of Sacramento, California for the

transfer of ZemTV files. (See App. at 142, 81 ¶ 11(a) (“If you’re on GitHub please be sure to


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 These entities included California-based Yahoo! Inc., Facebook, Inc., and Washington-based
domain registrar Dotster. Exxon, 2013 WL 12124587 at *6.
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follow us, and submit code any time your heart desires!”); App. at 237, 86 ¶ 13(d); App. at 322-

323, 89 ¶ 25.) GitHub provides its services subject to terms of service including an agreement that

the federal laws of the United States and the state of California will govern any dispute. (App. at

322-323, 89 ¶ 25.)

       Defendants entered into contracts with Facebook, Inc. of Sacramento California to request

donations, provide the number of TV Addons users, advertise products, promote product

giveaways, and target United States users with United States television channels, news, and

sporting events. (See App. at 142-166, 81 ¶ 11; App. at 229, 86 ¶ 13(c); App. at 325-326, 89 ¶

26.) Defendants boasted that they have 5,000 followers on Facebook. (App. at 283, 87 ¶ 18.)

Facebook provides its services subject to terms of service including an agreement that the laws of

the state of California will govern any dispute. (App. at 325-326, 89 ¶ 26.)

       Defendants entered into contracts with Twitter, Inc. of San Francisco California to

communicate with TV Addons users. (See App. at 283, 87 ¶ 18; App. at 328-329, 89 ¶ 27.)

Defendants boasted that they have 18,600 Twitter followers. (App. at 283, 87 ¶ 18.) Separately,

Durrani entered into contracts with Twitter to provide support to and receive feedback from

ZemTV users, including users located in the United States. (See App. at 168-202, 84-85 ¶ 12;

App. at 221, 85-86 ¶ 13(b); App. at 328-329, 89 ¶ 27.) Twitter provides its services subject to

terms of service including an agreement that the laws of the state of California will govern any
dispute. (App. at 328-329, 89 ¶ 27.)

       Defendants entered into contracts with Google, Inc. of Mountain View, California to

provide information to TV Addons users via YouTube. (See App. at 283, 87 ¶ 18; App. at 331-

332, 89 ¶ 28.) Defendants boasted that they have almost 4000 fans on YouTube. (App. at 283, 87

¶ 18.) Separately, Durrani entered into contracts with Google for the email address used to

communicate with ZemTV users and contract for services with Twitter, Facebook, GitHub, and

Microsoft. (See App. at 221, 229, 237, 248, 256-259, 85-87 ¶¶ 13(b-f); App. at 334-335, 89 ¶ 28.)

Google provides its services subject to terms of service including agreements that the service shall


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be deemed solely based in California and that the laws of the state of California will govern any

dispute. (App. at 331-332, 334-335, 89 ¶ 28.)

       Durrani entered into contracts with Microsoft Corporation of Tumwater, Washington for

one of the email addresses used to contract for the foregoing services with GitHub. (See App. 237,

256-257, 85-87 ¶ 13(d, f); App. at 337-339, 89 ¶ 29.) Durrani registered this email address

identifying his address as being in Florida with a postal code of 33332, which is located in Broward

County, Florida. (App. at 256, 86-87 ¶ 13(f).) Microsoft provides its services subject to a service

agreement that applies the laws of the state where the user lives, which based on Durrani’s account

registration is Florida. (App. at 337-339, 89 ¶ 29.)

       Upon information and belief, Durrani entered into contracts with Dynamic Network

Services, Inc. of Manchester, New Hampshire to retransmit DISH’s exclusively licensed content

to ZemTV users, including users located in the United States. (See Dkt. 10 ¶¶ 9-12; App. at 55-

72, 9 ¶ 10(b).)

       The Court should find personal jurisdiction against Defendants under Rule 4(k)(2) because

the forgoing contracts were executed in the United States on the service providers’ host servers

and Defendants intended to and did utilize these services to augment TV Addons and ZemTV,

resulting in the transmission of infringing content to users in the United States.

                  5.   Defendants introduced ZemTV into the stream of commerce with the
                       expectation that it would be used by residents of the United States.
       A defendant’s minimum contacts with and purposeful availment of the forum are also

found where the defendant has introduced products or services into the stream of commerce with

the expectation that they will be consumed or utilized by residents of the forum. See Luv n’ Care,

438 F.3d at 470. “[A] defendants’ acts of distributing infringing [content] to U.S. consumers and

generating revenue (and diverting consumers from [plaintiff’s lawfully distributed content] are

acts ‘expressly aimed’ at the U.S. Goes Int’l, AB v. Dodur Ltd., No. 3:14-cv-05666-LB, 2015 WL

5043296, at *9-10 (N.D. Cal. Aug. 26, 2015) (finding personal jurisdiction under Rule 4(k)(2)
where a Chinese defendant distributed an infringing videogame to United States residents over the

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Internet). Designing a product for the forum is an indication of purposeful availment. Exxon,

2013 WL 12124587 at *4.

       Defendants used TV Addons to target residents of the United States and it was designed to

appeal to United States television consumers. The TV Addons Home page stated “Whether you’re

in the United States, United Kingdom, Canada, Germany, India or anywhere else, Kodi Addons

will work great for you!” (App. at 130, 80 ¶ 8.) The United States was Defendants’ largest market

with approximately 34% of all TV Addons traffic coming from users located in the United States,

which was three times the traffic from the second largest market. (App. at 287, 88 ¶ 19.)

Defendants had a discussion forum called “USTVnow Plugin for Kodi” included under the

“Community Endorsed Kodi Addons” section of TV Addons that was described as “Live

Streaming of Major American TV Networks from USTVnow.” (App. at 138, 81 ¶ 10(c).)

Defendants also made numerous Facebook posts directed towards residents of the United States

including, “Watch Game 1 of the World Series (Houston Astros vs Los Angeles Dodgers) on

USTVnow” and “Get the best Live TV addon of all time! Free HD access to ABC, CBS, CW,

FOX, NBC, PBS with USTVnow Plus addon.” (App. at 152-153, 81-82 ¶ 11(k-l).) Other

Facebook posts by Defendants marketed addons distributing NBC, ABC, NHL, NFL, The New

York Times, United States local news, HGTV, Fox News, Food Network, Cooking Channel, DIY

Network, Feeform, Smithsonian Channel, Sundance TV, and Travel. (App. at 154-163, 81-82 ¶
11(m-y).)

       Defendants likewise targeted residents of the United States with ZemTV and it was

designed to appeal to United States television consumers. Defendants marketed ZemTV as the

third best addon for live television and sports streaming. (App. 132-133, 80 ¶ 9.) ZemTV was

one of the best addons because it distributed channels exclusively licensed to DISH in the United

States and permitted users in the United States to receive the content for free without paying a

subscription fee to DISH. (See Dkt. 10 ¶¶ 9-12; App. at 20-24, 5-8, ¶¶ 3, 8; App. at 77 ¶ 2.)

Defendants introduced ZemTV into the stream of commerce with the expectation that it would be
used by residents of the United States as shown by ZemTV distributing “ESPN US”, NBA TV,

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NFL Network, WWE Network, BoxNation, “FOX Sports 1 US”, Pac-12 Network, Food Network,

QVC, Spike TV, and Willow “US Only”. (App. at 91-107, 77-78, ¶ 3.)

       “[E]stablishing channels for providing regular advice to customers in the forum” is an

additional action that evidences an intent to serve the market of the forum. Luv n’ Care, 438 F.3d

at 471, n.6 (declining to hold that some additional action on the part of the defendant, beyond

foreseeability, is necessary for a finding of personal jurisdiction). Defendants provided customer

support to users in the United States via Facebook, Twitter, and Durrani’s ZemTV support forum,

which contained more than 1,600 posts by Durrani. (See App. at 14-18, 6 ¶¶ 5-6; App. at 142-179,

81-85 ¶¶ 11-12.)

       The Court should find personal jurisdiction against Defendants under Rule 4(k)(2) because

Defendants introduced ZemTV into the stream of commerce with the expectation that it would be

used by residents of the United States.

               6.     The exercise of jurisdiction is appropriate under the Calder effects test.

       The Calder effects test is applicable when determining whether the exercise of jurisdiction

is appropriate for cases arising from copyright infringement taking place on the Internet. See

Guidry, 188 F.3d at 623, n.2 (stating that the Calder effects test was not limited solely to libel

cases); AllChem Performance Prods., Inc. v. Aqualine Warehouse, LLC, 878 F. Supp. 2d 779, 793

(S.D. Tex. 2012) (applying Calder to copyright infringement action); Calder v. Jones, 465 U.S.
783, 788 (1984). The exercise of personal jurisdiction is appropriate under the Calder effects test

where the (1) defendant knows the focal point of the harm from their action is inside the forum

and (2) the “defendant’s conduct connects him to the forum in a meaningful way.” Walden v.

Fiore, 134 S. Ct. 1115, 1125 (2014).

       The focal point of the harm from TV Addons and ZemTV was in the United States. A

defendant can be placed on notice that their copyright infringement is harming a plaintiff in the

forum by means of a cease-and-desist letter. See Was. Shoe Co. v. A-z Sporting Goods Inc., 704

F.3d 668, 675 (9th Cir. 2012) (finding personal jurisdiction and stating that “[defendant’s]
intentional acts were expressly aimed at the copyright held by [plaintiff] because [defendant] knew

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that its intentional acts would impact [plaintiff’s] copyright by virtue of the cease-and-desist letters

it had received.”). DISH sent cease-and-desist letters to Defendants and their service providers

notifying them that ZemTV was infringing DISH’s copyrights in the United States. (Dkt. 10 ¶ 16;

App. at 289-292, 297-308, 88 ¶¶ 20-21.) And Defendants’ boasting on TV Addons that their

services allow users “to cut down your cable or satellite television bill substantially, if not entirely”

shows that Defendants were well aware that TV Addons and ZemTV were harming DISH and

other legitimate, subscription television service providers in the United States. (See App. at 134,

80 ¶ 9.) The first element for a finding of personal jurisdiction under the Calder test is met because

Defendants knew the focal point of the harm to DISH was in the United States.

        To establish jurisdiction under the Calder test, the defendant’s own conduct must connect

him to the forum in a meaningful way. Walden, 134 S. Ct. 1115 at 1125 (interpreting Calder);

Revel v. Lidov, 317 F.3d 467, 473 (5th Cir. 2002) (interpreting Calder in the website context). This

prong of the Calder test is satisfied through “broad publication” in the forum, Walden, 134 S. Ct.

1115 at 1125, from “draw[ing] from [forum] sources…,” or from “reference[s] to [the forum].”

Revel, 317 F.3d at 473 (interpreting Calder).

        Defendants broadly published ZemTV and its infringing content in the United States as

shown by the millions of forum residents that visited TV Addons and downloaded and used

ZemTV. (See supra Section IV(C)(1).) TV Addons made references to the forum concerning
ZemTV and its content. (See App. at 130, 80 ¶ 8 (“Whether you’re in the United States . . . or

anywhere else, Kodi Addons will work great for you!”); App. at 132-133, 80 ¶ 9 (identifying

ZemTV as the third best Kodi Addon for live television and sports streaming). And the ZemTV

content drew from and referred to the forum including channels in which DISH held the exclusive

United States distribution rights and other well-known American sports and entertainment

channels including “ESPN US”, NBA TV, NFL Network, WWE Network, BoxNation, “FOX

Sports 1 US”, Pac-12 Network, Food Network, QVC, Spike TV, and Willow “US Only.” (Dkt.

10 ¶¶ 8-10; App. at 91-107, 77-78 ¶¶ 2-3; App. at 20-24, 7-8 ¶ 8). The second element for a finding
of personal jurisdiction under the Calder test is met because Defendants broadly published ZemTV

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and its infringing content in the United States, made references to the United States, and drew

ZemTV content from United States sources. Walden, 134 S. Ct. 1115 at 1125; Revel, 317 F.3d at

473.

         The Court should find personal jurisdiction against Defendants under Rule 4(k)(2) and the

Calder effects test.

         D.     DISH’s claims arise from Defendants’ minimum contacts with the United
                States.
         To establish specific personal jurisdiction, the plaintiff’s claims must relate to the

defendant’s minimum contacts with the forum state. McFadin v. Gerber, 587 F.3d 753, 763 (5th
Cir. 2009).

         DISH brought claims against Defendants for direct and secondary copyright infringement

arising from their use of TV Addons to jointly develop, update, market, distribute, host, and

support ZemTV. (Dkt. 10 ¶¶ 3-4, 11, 13-15, 17-41.) In doing so, Defendants made extensive

contacts with and purposefully availed themselves of the United States as a whole. (See supra

Section IV(C)(1)) (Defendants entered into contracts with millions of users in the United States);

Section IV(C)(2)) (Defendants operated a highly interactive website of a commercial nature

utilized by millions of United States residents); Section IV(C)(3)) (Defendants contracted with

nine United States service providers to augment and facilitate the distribution of ZemTV and the

copyrighted content in the United States).) Accordingly, DISH’s copyright infringement claims

against Defendants necessarily relate to Defendants’ contacts with the United States.

         E.     The exercise of personal jurisdiction over Defendants is fair and reasonable.

         The exercise of personal jurisdiction over a defendant must also be “fair and reasonable.”

McFadin, 587 F.3d at 759. “In determining whether or not the exercise of jurisdiction is fair and

reasonable, defendants bear the burden of proof and it is rare to say the assertion of jurisdiction is

unfair after minimum contacts have been shown.” Id. at 759-60. This is a five-factor inquiry: (1)

the burden on the defendant, (2) the forum state’s interest, (3) the plaintiff’s interest in securing



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relief, (4) the interest of the interstate judicial system in the efficient administration of justice, and

(5) the shared interest of the several states in further fundamental social policies. Id.

        Applying these factors, the exercise of personal jurisdiction is fair and reasonable because

the only factor weighing against jurisdiction is the fact that Defendants reside outside the United

States. “[T]he United States has a substantial interest in curtailing the undaunted showcasing of .

. . protected intellectual property that allegedly infringes on a domestic entity’s rights.” Exxon,

2013 WL 12124587 at *7. “As [a] lawsuit brought on federal grounds, Plaintiff has a strong

interest to protect itself from those [defendants] availing themselves of the privileges and

protections of the United States to the detriment of Plaintiff’s business.” Id. “Moreover, to force

Plaintiff to litigate these inherently distinctive rights overseas would not be efficient or even

guarantee that a proper forum for relief would be available.” Id. “Finally, social policies are

furthered when a foreign entity targeting the markets of the United States is amenable to a lawsuit

when the claims arise under a federal statute.” Id. (finding the exercise of personal jurisdiction fair

and reasonable where defendants residing outside the United States were alleged to have infringed

the plaintiff’s trademarks).

                                          V.      Conclusion

        DISH alleged personal jurisdiction under Rule 4(k)(2) based upon the Defendants being

foreign defendants with minimum contacts with the United States as a whole. Defendants had a
duty to negate personal jurisdiction under Rule 4(k)(2), but they failed to do so. See Adams, 364

F.3d at 652 (“Because we conclude that our exercise of jurisdiction is clearer and more

straightforward under Rule 4(k)(2) than under Louisiana law, we affirm the district court’s

jurisdictional ruling on this alternate basis.”); Nagravision, 2018 WL 746538 at *3 (affirming

personal jurisdiction over foreign defendants in the Southern District of Texas under Rule 4(k)(2)

and explaining that the defendant bears the evidentiary burden of negating jurisdiction under that

subsection). The Court should find personal jurisdiction against Defendants under Rule 4(k)(2)

and deny Defendants’ motion to dismiss. (See id.)


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Dated: February 28, 2018

                                               Respectfully submitted,

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                                   Certificate of Service

        I hereby certify that on February 28, 2018, a true and correct copy of the foregoing
document was filed electronically with the Clerk of the Court, using the CM/ECF system, which
sent notification of such filing to all CM/ECF participants in this case.

                                                   s/ Stephen M. Ferguson
                                                  Stephen M. Ferguson




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